Form 8
(10/05)

                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Robert William Geddes
 In re       Susan Mary Geddes                                                                                             Case No.      07-52776
                                                                                             Debtor(s)                     Chapter       7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
          I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
          I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
          I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                      Property will be   Debt will be
                                                                                                                     Property         redeemed           reaffirmed
                                                                                                    Property will be is claimed       pursuant to        pursuant to
 Description of Secured Property                                   Creditor's Name                  Surrendered      as exempt        11 U.S.C. § 722    11 U.S.C. § 524(c)
 13078 MASONIC BOULEVARD                                           IRWIN HOME EQUITY                                                                             X
 WARREN, MI 48088
 DEBTORS RESIDENCE
 SEV= $80,630.00
 13078 MASONIC BOULEVARD                                           WELLS FARGO                                                                                   X
 WARREN, MI 48088
 DEBTORS RESIDENCE
 SEV= $80,630.00



                                                                                                    Lease will be
                                                                                                    assumed pursuant
 Description of Leased                                                                              to 11 U.S.C. §
 Property                                                          Lessor's Name                    362(h)(1)(A)
 27 MONTH LEASE FOR A 2006                                         CHRYSLER FINANCIAL                       X
 CHRYSLER PACIFICA
 LEASE COMMENCES 9/2008
 PAYMENTS $235.00 A MONTH
 DEBTOR WILL ASSUME LEASE
 36 MONTH LEASE FOR A 2006 DODGE                                   Diamler Chrysler                         X
 DAKOTA LEASE COMMENCES 8/2008
 LEASE WAS PAID UPFRONT BY SON,
 NO MONTHLY PAYMENT
 FATHER IS CO-SIGNER ON LEASE
 DEBTOR WILL ASSUME LEASE
 48 MONTH LEASE FOR A 2003                                         FIFTH THIRD                              X
 CHRYSLER TOWN & COUNTRY VAN
 LEASE COMMENCES 7/2007
 PAYMENTS ARE $328.00 A MONTH
 DEBTOR WILL ASSSUME LEASE




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(10/05)
               Robert William Geddes
 In re         Susan Mary Geddes                                                                                       Case No.   07-52776
                                                                                              Debtor(s)

                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                      (Continuation Sheet)




 Date July 16, 2007                                                             Signature      /s/ Robert William Geddes
                                                                                               Robert William Geddes
                                                                                               Debtor


 Date July 16, 2007                                                             Signature      /s/ Susan Mary Geddes
                                                                                               Susan Mary Geddes
                                                                                               Joint Debtor




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